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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   MARTINSBURG


   MICHAEL JAY BRACKETT,

                 Petitioner,

   v.                                               CIVIL ACTION NO. 3:10-CV-30
                                                    CRIMINAL ACTION NO. 3:08-CR-56-2
                                                    (BAILEY)

   UNITED STATES OF AMERICA,

                 Respondent.


                  ORDER ADOPTING REPORT AND RECOMMENDATION

   I.     Introduction

          On this day, the above-styled matter came before the Court for consideration of the

   Report and Recommendation of United States Magistrate Judge David J. Joel [Civ. Doc.

   10; Crim. Doc. 152]. By Standing Order, entered on March 24, 2000, this action was

   referred to Magistrate Judge Joel for submission of a proposed report and recommendation

   (“R&R”). Magistrate Judge Joel filed his R&R on November 15, 2011. In that filing, the

   magistrate judge recommends that this Court reject all of the nine claims of ineffective

   assistance of counsel contained in petitioner Michael Jay Brackett’s (“Brackett”) counsel-

   prepared § 2255 petition and four of the five claims of ineffective assistance of counsel

   contained in his pro se § 2255 petition. As for Brackett’s fifth claim, which relates to his

   sentencing, the magistrate judge recommends that this Court sever that claim due to an

   apparent conflict of interest created because Brackett’s current counsel also represented

   him at sentencing.

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          Pursuant to 28 U.S.C. § 636(b)(1)(c), this Court is required to make a de novo

   review of those portions of the magistrate judge’s findings to which objection is made.

   However, the Court is not required to review, under a de novo or any other standard, the

   factual or legal conclusions of the magistrate judge as to those portions of the findings or

   recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140,

   150 (1985). In addition, failure to file timely objections constitutes a waiver of de novo

   review and the petitioner's right to appeal this Court's Order. 28 U.S.C. § 636(b)(1);

   Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v. Schronce,

   727 F.2d 91, 94 (4th Cir. 1984). Here, objections to Magistrate Judge Joel’s R&R were due

   by December 5, 2011. Brackett timely objected to the R&R on December 5, 2011 [Crim.

   Doc. 156]. Accordingly, this Court will undertake a de novo review of those portions of the

   magistrate judge’s findings to which objection is made. The Court will review the remainder

   of the R&R for clear error.

   II.    Background

          A.     Conviction and Sentence

          On October 7, 2008, a jury convicted Brackett of conspiracy to possess and sell

   stolen firearms, in violation of 18 U.S.C. §§ 922(j), and being a felon in possession of a

   firearm and ammunition, in violation of 18 U.S.C. §§ 922(g)(1) and 924.

          On February 24, 2009, this Court sentenced Brackett to 60 months imprisonment

   for the conspiracy conviction and 210 months imprisonment for the felon in possession

   conviction, to run concurrently and to be followed by concurrent terms of supervised

   release. Brackett’s current counsel also represented him at sentencing.

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          B.     Direct Appeal

          Brackett, by his current counsel, filed a direct appeal to the United States Court of

   Appeals for the Fourth Circuit, raising the following seven claims of error:

          (1) This Court erroneously failed to direct a verdict in favor of Brackett at the
          close of all the evidence or, in the alternative, the jury’s verdict was contrary
          to the evidence presented;


          (2) This Court erroneously failed to sua sponte provide the jury with a limiting
          instruction regarding Brackett’s prior felony conviction;


          (3) This Court erroneously assessed a two-level sentence enhancement for
          obstruction of justice;


          (4) This Court erroneously enhanced Brackett’s sentence based on facts not
          found by the jury or admitted by him;


          (5) Trial counsel was ineffective by failing to use a prior inconsistent
          statement of Brackett’s co-defendant, by failing to object to or move to strike
          Rule 404(b) evidence, and by failing to seek appropriate cautionary
          instructions;


          (6) This Court erroneously included prejudicial information in its jury
          instructions; and


          (7) This Court erroneously denied Brackett a new trial based upon the
          cumulative weight of these errors.


          On April 12, 2010, the Fourth Circuit affirmed Brackett’s conviction and sentence.

   See United States v. Brackett, 373 Fed.Appx. 427 (4th Cir. Apr. 12, 2010). The Fourth

   Circuit declined to address Brackett’s claims of ineffective assistance of counsel on direct

   appeal. See Id. at 420.



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          C.     Federal Collateral Attack

                 1.      Counsel-Prepared § 2255 Petition

          On April 11, 2011, the same counsel who represented Brackett at sentencing and

   on direct appeal filed a Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

   Sentence by a Person in Federal Custody [Civ. Doc. 1; Crim. Doc. 139]. As grounds for

   relief, Brackett’s counsel claims that trial counsel was ineffective by failing to:

          (1) object, on the grounds of hearsay, to Agent Dean’s testimony regarding
          where the shotgun was found even though it was determined that Agent
          Dean was not the officer who first found the shotgun;


          (2) mention during cross-examination and closing argument that other
          ammunition found in Brackett’s residence was located in his co-defendant’s
          room;


          (3) object, on the grounds of hearsay, to Agent Dean’s testimony that
          Brackett’s girlfriend told him she did not know anything about the shotgun
          found between the mattress and box spring of Brackett’s bed;


          (4) move to strike Agent Dean’s testimony regarding Brackett’s statement
          that he possessed a 9 millimeter Ruger pistol;


          (5) object to the testimony of Brackett’s co-defendant regarding a trip to
          Frederick, Maryland to trade firearms for crack cocaine;


          (6) object to the testimony of Brackett’s co-defendant that he was aware that
          Brackett possessed a .38 caliber special pistol when he moved in with
          Brackett;


          (7) ask this Court for a cautionary instruction when the parties’ stipulation
          regarding Brackett’s status as a felon was read to the jury;


          (8) object when this Court omitted cautionary instruction No. 7 titled


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          “Consider Only Offense Charged;” and


          (9) use the co-defendant’s recanting statement for impeachment on cross-
          examination.

                 2.     Pro Se § 2255 Petition

          On May 2, 2011, Brackett, acting pro se, filed a Motion Under 28 U.S.C. § 2255 to

   Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody [Civ. Doc. 5; Crim.

   Doc. 143]. As grounds for relief, Brackett alleges the following claims of ineffective

   assistance of counsel:

          (1) Trial counsel was ineffective by failing to move to dismiss the Indictment
          or, in the alternative, by failing to move to inspect the list of names of
          qualified grand jurors who voted for the Indictment;


          (2) Trial counsel was ineffective by failing to withdraw despite irreconcilable
          conflicts;


          (3) Trial counsel was ineffective by failing to move to suppress evidence and
          failing to impeach government witnesses;


          (4) Trial counsel was ineffective by failing to investigate or call his co-
          defendant’s mother and other witnesses to testify on his behalf; and


          (5) Sentencing counsel (and current counsel) was ineffective by failing to
          investigate or present evidence material to his sentencing and by failing to
          object to evidence used to determine his sentencing guidelines and ultimate
          sentence.


                 3.     Instant R&R

          On November 15, 2011, Magistrate Judge Joel filed the instant R&R [Civ. Doc. 10;

   Crim. Doc. 152]. In that filing, the magistrate judge recommends that this Court reject all


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   of the claims of Brackett’s counsel and all but the fifth claim made by Brackett. As for

   Brackett’s fifth claim, which relates to his sentencing, the magistrate judge recommends

   that this Court sever that claim due to an apparent conflict of interest created because

   Brackett’s current counsel also represented him at sentencing. Finally, the magistrate

   judge ordered Brackett to notify the Court, in writing and within 14 days of receiving the

   R&R, if he wished to pursue his fifth claim either pro se or through different retained

   counsel.

           On November 30, 2011, Brackett filed his Motion to Pursue his Fifth Claim Pro Se

   [Crim. Doc. 154]. In his motion, Brackett asks for appointment of counsel, though states

   that without appointed counsel he will “be force [sic] to purse [sic] his Fifth Claim . . . Pro

   se . . ..” (Id. at 4).

   III.    Discussion

           A.      Portions of R&R to which Brackett Objects

           In his pro se Objections [Crim. Doc. 156], timely filed on December 5, 2011, Brackett

   objects to Magistrate Judge Joel’s recommendation that this Court reject his other four pro

   se claims of ineffective assistance of counsel.

           The Court will now consider each claim, under a de novo review, to determine

   whether Brackett has demonstrated that: (1) counsel’s conduct fell below an objective

   standard of reasonableness and (2) the petitioner was prejudiced by counsel’s deficient

   performance. Strickland v. Washington, 466 U.S. 668, 687 (1964).




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                 1.      Trial Counsel’s Failure to Move to Dismiss Indictment or, in the
                         Alternative, Failure to Move to Inspect List of Grand Jurors


          As his first ground for relief, Brackett claims that trial counsel was ineffective by

   failing to move to dismiss the Indictment or, in the alternative, by failing to move to inspect

   a list of the names of all qualified grand jurors who voted for the Indictment. The Court will

   consider each part of this first ground for relief in turn.

                         i.     Motion to Dismiss

          Brackett contends that this Court lacked jurisdiction because the Indictment was not

   signed by both the United States Attorney and the Grand Jury foreperson. Instead, the

   publicly filed Indictment contains a “/s/” representation of both signatures. As such,

   Brackett argues that his trial counsel was ineffective for failing to move to dismiss the

   Indictment on this basis.

          In his R&R, Magistrate Judge Joel recommends that this Court reject Brackett’s first

   ground for relief. Specifically, the magistrate judge notes that it is the practice of the

   Northern District of West Virginia that the “public” copies of the indictments not reveal the

   actual signatures of the United States Attorney and the Grand Jury foreperson. ([Civ. Doc.

   10; Crim. Doc. 152] at 22) (citing Wheeler v. United States, 2011 WL 2491376, *15 (N.D.

   W.Va. Apr. 25, 2011)). Instead, the magistrate judge explained that original indictments

   bearing the actual signatures are kept with the Office of the Clerk of Court. As such, the

   magistrate judge concluded that Brackett had failed to demonstrate either of the two prongs

   of the Strickland test. (Id.).




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          Upon a de novo review, this Court agrees with Magistrate Judge Joel’s reasoning

   and conclusion. For obvious reasons, the publicly filed indictments in this District do not

   reveal the actual signatures of the United States Attorney and the Grand Jury foreperson.

   Moreover, as pointed out by Magistrate Judge Joel, the original indictments bearing the

   signatures are kept in the Clerk’s Office. Thus, any motion to dismiss based upon a lack

   of jurisdiction would have been futile. In this regard, Strickland does not require counsel

   to pursue frivolous motions. See United States v. Bosch, 584 F.2d 1113, 1121 (1st Cir.

   1978). Therefore, this Court concludes that Brackett has failed to satisfy either prong of

   Strickland. Accordingly, Brackett’s Objections are OVERRULED to the extent that they

   relate to this portion of his first ground for relief.

                          ii.    Motion to Inspect

          Alternatively, Brackett contends that trial counsel was ineffective by failing to move

   to inspect a list of names of qualified grand jurors who voted for the Indictment. In

   recommending that this Court reject this claim, Magistrate Judge Joel notes that disclosure

   of grand jury voting records is only necessary when a defendant demonstrates a

   “particularized need” for such information. ([Civ. Doc. 10; Crim. Doc. 152] at 22) (citing

   Merica v. United States, 2007 WL 4561298, *4 (W.D. Va. Dec. 21, 2007)). Because

   Brackett could not demonstrate a particularized need, the magistrate concluded that he

   could not satisfy either prong of Strickland based upon trial counsel’s failure to file a

   motion to inspect.

          Upon a de novo review, this Court agrees with Magistrate Judge Joel’s reasoning

   and conclusion. To date, Brackett has failed to demonstrate a particularized need for


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   disclosure of the Grand Jury’s voting records. In addition, the fact that a defendant has not

   been permitted to review the record of the grand jurors who voted in favor of returning an

   indictment does not, alone, prove that appropriate voting procedures were not followed.

   See Wilson v. United States, 2002 WL 32859483, *5 (W.D. Va. May 6, 2002). Thus, any

   motion to inspect would have been futile. Again, Strickland does not require counsel to

   pursue frivolous motions. See Bosch, 584 F.2d at 1121. Therefore, this Court concludes

   that Brackett has failed to satisfy either prong of Strickland. Accordingly, Brackett’s

   Objections are OVERRULED to the extent that they relate to this portion of his first ground

   for relief.

                 2.     Trial Counsel’s Failure to Move to Withdraw as Counsel

           As his second ground for relief, Brackett contends that one of his trial counsel,

   Assistant Federal Public Defender Katy Cimino (previously known as Katy Ratai)

   “unprofessionally failed to withdraw as defense counsel” though an “irreconcilable conflict”

   existed between them. ([Civ. Doc. 5; Crim. Doc. 143] at 5). In the instant R&R, Magistrate

   Judge Joel explained that a defendant alleging ineffective assistance of counsel based

   upon a conflict of interest “must establish that an actual conflict of interest adversely

   affected his lawyer’s performance.” ([Civ. Doc. 10; Crim. Doc. 152] at 25) (quoting Cuyler

   v. Sullivan, 446 U.S. 335, 350 (1980)). The magistrate judge then concluded that Brackett

   has failed to establish an actual conflict of interest, noting that the Sixth Amendment does

   not guarantee a “meaningful relationship” between a defendant and his attorney. (Id. at 26)

   (quoting Morris v. Slappy, 461 U.S. 1, 14 (1983).




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              Upon a de novo review, this Court agrees with Magistrate Judge Joel’s reasoning

    and conclusion. In particular, Brackett has failed to establish an actual conflict of interest.

    Though Ms. Cimino stated in a pretrial hearing that there had been communication and

    trust problems, Magistrate Judge Joel correctly notes that the Sixth Amendment does not

    guarantee a “meaningful relationship.” See Morris, 461 U.S. at 14. Accordingly, Brackett’s

    Objections are hereby OVERRULED to the extent that they relate to his second ground for

    relief.

                     3.     Trial Counsel’s Failure to Move to Suppress

              As his third ground for relief, Brackett contends that his trial counsel was ineffective

    by failing to move to suppress “evidence material to [his] conviction and/or sentence . . ..”

    ([Civ. Doc. 5.; Crim. Doc. 143] at 6). More specifically, Brackett alleges that Government

    agents gave false testimony to the Grand Jury, that the Government presented evidence

    excluded by this Court during pretrial proceedings, and that his co-defendant provided false

    testimony at trial.

              In finding Brackett’s claims misplaced, Magistrate Judge Joel noted that a defendant

    claiming ineffective assistance of counsel based upon counsel’s failure to “litigate a Fourth

    Amendment claim” must “prove that his Fourth Amendment claim is meritorious and that

    there is a reasonable probability that the verdict would have been different absent the

    excludable evidence in order to demonstrate actual prejudice.” ([Civ. Doc. 10; Crim. Doc.

    152] at 23) (quoting Kimmelman v. Morrison, 477 U.S. 365, 375 (1986)). The magistrate

    judge then concluded that Brackett had failed to present a meritorious Fourth Amendment

    claim that could support a claim for ineffective assistance of counsel.


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           Upon a de novo review, this Court agrees with Magistrate Judge Joel’s reasoning

    and conclusion. First, Brackett has presented absolutely no evidence in support of his

    allegation that Government agents lied to the Grand Jury. Second, as the record clearly

    indicates, Brackett is simply mistaken regarding the exhibits. Third, the trial transcript

    unequivocally shows that Brackett’s trial counsel did, in fact, seek to impeach Brackett’s

    co-defendant on cross-examination. Thus, because Brackett has failed to present a

    meritorious Fourth Amendment claim, this Court cannot find that his trial counsel was

    ineffective for failing to file a motion to suppress. Accordingly, Brackett’s Objections are

    hereby OVERRULED to the extent that they relate to his third ground for relief.

                  4.      Trial Counsel’s Failure to Investigate or Call Witnesses

           As his fourth ground for relief, Brackett contends that his trial counsel was ineffective

    for failing to investigate or call witnesses. Specifically, Brackett alleges that his co-

    defendant’s mother would have testified that her son was not trustworthy, that Brackett was

    not involved in the firearms sales, and that she knew her son sold firearms. As support for

    this claim, Brackett relies on reports prepared by Agent Dean, who noted that on June 2,

    2008, the co-defendant’s mother called her son regarding the location of a double-barreled

    shotgun.

           In the instant R&R, Magistrate Judge Joel found that while Brackett had identified

    an uncalled witness (the co-defendant’s mother), he had failed to “make an affirmative

    showing as to . . . the availability of the witness to testify, the details of what the uncalled

    witness would have testified to, and that the testimony of the uncalled witness would have

    produced a different, more favorable result at trial.” ([Civ. Doc. 10; Crim. Doc. 152] at 28)


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    (quoting Talley v. United States, 2006 WL 3422997, *9 (E.D. Tenn. Nov. 26, 2006)). The

    magistrate judge also emphasized that the Fourth Circuit had held that conclusory

    allegations that an uncalled witness would have provided exculpatory evidence are not

    sufficient to establish prejudice under Strickland. (Id.) (citing United States v. Terry, 366

    F.3d 312, 316 (4th Cir. 2004)).

            Upon a de novo review, this Court agrees with Magistrate Judge Joel’s reasoning

    and conclusion.     First, the information reasonably available to trial counsel did not

    necessarily indicate that the co-defendant’s mother knew her son sold firearms. For

    example, Agent Dean’s report reveals only that the co-defendant’s mother asked her son

    about a firearm she owned. Moreover, even assuming that the co-defendant’s mother

    knew her son sold firearms, this knowledge does not necessarily exculpate Brackett.

    Therefore, Brackett has failed to establish prejudice under Strickland. Accordingly,

    Brackett’s Objections are OVERRULED to the extent that they relate to his fourth ground

    for relief.

            B.    Portions of R&R to which Brackett Does Not Object

            Brackett does not object to Magistrate Joel’s recommendation that this Court reject

    the counsel-prepared claims of ineffective assistance of counsel. Nor does Brackett object

    to Magistrate Judge Joel’s recommendation that this Court sever his fifth pro se claim.

    Accordingly, this Court will review those recommendations for clear error. 28 U.S.C. §

    636(b)(1); Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v.

    Schronce, 727 F.2d 91, 94 (4th Cir. 1984). Upon a careful review of those portions of the

    R&R, this Court finds no clear error.


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    IV.    Conclusion

           Upon careful review of the record, it is the opinion of this Court that the magistrate

    judge’s Report and Recommendation [Civ. Doc. 10; Crim. Doc. 152] should be, and is,

    hereby ORDERED ADOPTED for the reasons more fully stated therein. Further, Brackett’s

    Objections [Crim. Doc. 156] are OVERRULED. Accordingly, the § 2255 petition prepared

    by counsel [Civ. Doc. 1; Crim. Doc. 139] and the first four claims contained in Brackett’s

    pro se § 2255 petition [Civ. Doc. 5; Crim. Doc. 143] are hereby DENIED and DISMISSED

    WITH PREJUDICE. However, the fifth claim contained in Brackett’s pro se § 2255 petition

    is hereby SEVERED from his other dismissed claims, pending a recommended disposition

    by Magistrate Judge Joel. As a final matter, upon an independent review of the record, this

    Court hereby DENIES Brackett a certificate of appealability on his dismissed claims, finding

    that he has failed to make “a substantial showing of the denial of a constitutional right.” 28

    U.S.C. § 2253(c)(2).

           It is so ORDERED.

          The Clerk is directed to transmit copies of this Order to counsel of record herein and

    to mail a copy to the pro se petitioner.

           DATED: January 26, 2012.




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